                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    MISSION COAL COMPANY, LLC, et al.,1                         )        Case No. 18-04177-TOM11
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

                                      NOTICE OF SUCCESSFUL BIDS


             1.    On December 5, 2018, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), filed the Debtors’ Motion for Entry of an Order (I) Authorizing the

Debtors to Enter into and Perform Under the Stalking Horse Purchase Agreement, (II) Approving

Bidding Procedures for the Sale of the Debtors’ Assets, (III) Scheduling Hearings and Objection

Deadlines with Respect to the Sale, (IV) Scheduling Bid Deadlines and an Auction, (V) Approving

the Form and Manner of Notice Thereof, (VI) Approving Contract Assumption and Assignment

Procedures, and (VII) Granting Related Relief [Docket No. 393] (the “Motion”).2

             2.    On December 21, 2018, the Court entered the Order (I) Approving Bidding

Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection Deadlines

with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form

and Manner of Notice Thereof, (V) Approving Contract Assumption and Assignment Procedures,


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak Grove Land Company,
      LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC (6070); Pinnacle Mining
      Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631); Seminole Coal Resources, LLC
      (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal Resources, LLC (1816); and Seneca
      North American Coal, LLC (5102). The location of the Debtors’ service address is: 7 Sheridan Square, Suite
      300, Kingsport, Tennessee 37660.
2     Capitalized terms used herein that are otherwise not defined shall have the meaning given to them in the Bidding
      Procedures Order.




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and (VI) Granting Related Relief [Docket No. 490] (the “Bidding Procedures Order”), which,

among other items, approved the bidding procedures attached thereto as Exhibit 1 (the “Bidding

Procedures”).

       3.       On February 7, 2019, the Court entered the Amendment to Order (I) Approving

Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection

Deadlines with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving

the Form and Manner of Notice Thereof, (V) Approving Contract Assumption and Assignment

Procedures, and (VI) Granting Related Relief [Docket No. 728] (the “Amended Bidding

Procedures Order”).

       4.       Pursuant to the Bidding Procedures, on or prior to the Bid Deadline, the Debtors

received several bids for the Maple mining assets and the Pinnacle mining assets. As of the Bid

Deadline, the Debtors did not receive any bids for the Oak Grove mining assets or any bids for the

Debtors’ combined assets that the Debtors deemed higher and better than the Opening Bidder’s

Proposed Agreement.

       5.       Pursuant to the Bidding Procedures, on February 27, 2019, the Debtors held an

Auction where competitive bidding ensued to determine the highest and best bid for the Maple and

Pinnacle mining assets on a stand-alone basis. The Debtors declared conditional highest and best

bids on the Maple and Pinnacle mining assets on a stand-alone basis, but did not select a Successful

Bidder for such assets, pending determination of any viable bids for the Oak Grove mining assets,

or competing combined bids. At both the beginning and conclusion of the Auction on the Maple

and Pinnacle mining assets, the Debtors announced on the record that the Debtors would not select

a Successful Bidder pending consideration of potential bids on the Oak Grove mining assets and/or




                                                 2


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combined bids for substantially all of the assets, including the Opening Bidder’s Proposed

Agreement.

        6.       Since the Auction the Debtors continued to solicit bids for the Oak Grove mining

assets and combined bids for both the Oak Grove and Maple mining assets. The Debtors received

additional competitive bids, and after engaging in extensive, good faith discussions and consulting

with the Consultation Parties, now select the following Successful Bids and Successful Bidders:

                 (a)      The Maple Eagle, Seminole, and the Oak Grove mining complexes
                          will be acquired by a newly formed entity that is 79% held by
                          Murray Energy Corporation and 21% held by Javelin Global
                          Commodities (UK) Ltd. (collectively, the “Successful Oak Grove
                          and Maple Eagle Bid”).

                 (b)      The Pinnacle mining complex will be purchased in part by
                          Bluestone Resources, Inc. (“Bluestone”) and in part by Contura
                          Energy, Inc. (“Contura”). Bluestone will be purchasing all assets of
                          Pinnacle, other than those purchased by Contura, including the
                          surface reserves and the Green Ridge reserves. Contura will acquire
                          the Pinnacle rights associated with the Indian Creek and Pocahontas
                          #3 reserves and certain surface property and other specified assets
                          at Pinnacle for purposes of water collection and discharge
                          (collectively, the “Successful Pinnacle Bid”).

        7.       The Debtors submit the Successful Oak Grove and Maple Eagle Bid and Successful

Pinnacle Bid as the Successful Bids. Attached hereto as (a) Exhibit A is a summary of the

Successful Oak Grove and Maple Eagle Bid, and (b) Exhibit B is a summary of the Successful

Pinnacle Bid. The Debtors and the Successful Bidders are working as expeditiously as possible to

finalize the respective forms of Asset Purchase Agreements, and will file such with the Court as

soon as possible.3 The Debtors select the Opening Bid and Opening Bidders as the Backup Bid




3   The Successful Bids remain subject to final documentation and the Debtors’ reserve all rights related thereto.



                                                         3


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and Backup Bidder on the terms set for the in the Opening Bidder’s Proposed Agreement. See

Docket No. 512.4

        8.       A hearing to consider approval of the Sales and confirmation of the Plan will be

held at the Robert S. Vance Federal Building, 1800 5th Avenue North, Birmingham, Alabama on

April 3, 2019 at 10:00 a.m. (prevailing Central Time).

        9.       Copies of all documents filed in these chapter 11 cases are available free of charge

by visiting the Debtors’ restructuring website at: http://www.omnigmgt.com/missioncoal or by

calling 888-585-6494 (U.S. and Canada) or 818-906-8300 (International). You may also obtain

copies of any pleadings for a fee by visiting the Court’s website at https://ecf.alnb.uscourts.gov.

                               [Remainder of page intentionally left blank.]




4   The DIP Lenders filed with the Bankruptcy Court a form of asset purchase agreement on December 28, 2018 (the
    “Dec 28 APA”). The Debtors assert that the Dec 28 APA is a binding and irrevocable bid pursuant to, among
    other things, the terms of the Bidding Procedures Order. The DIP Lenders believe that the Dec 28 APA is stale
    and is otherwise terminable by the DIP Lenders. The DIP Lenders have agreed to be the back-up bidder for the
    Oak Grove and Maple Eagle assets pursuant to a substantially similar APA (a draft of which was provided to the
    Debtors on March 27, 2019), with key revisions to such Dec 28 APA as follows: (i) the removal of the Pinnacle
    Business and associated assets from Acquired Assets/Assumed Liabilities and an express inclusion as an
    Excluded Asset/Excluded Liability, including reclamation liabilities; (ii) the Payroll Escrow Amount and Wind-
    Down Escrow Amount to be subject to caps to be mutually agreed between the DIP Lenders and the Debtors; (iii)
    the payment of Estate Retained Professional Fee Claims to be subject to the express provisions (and caps) set
    forth in the Final DIP Order, and to be paid pursuant to the terms of the revised APA (iv) revised bankruptcy
    milestones, (v) the addition of a closing condition and termination event related to the receipt of $27 million of
    consideration (and no less than $15 million of cash consideration) on account of the equity settlement (and the
    use of such cash proceeds). The Debtors have not agreed to such terms. All parties reserve all rights with regard
    thereto.


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Birmingham, Alabama          /s/ Daniel D. Sparks
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                                  Exhibit A


              Successful Oak Grove and Maple Eagle Bid Summary




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                  OAK GROVE AND MAPLE EAGLE MINES (MURRAY OFFER)

       Below is a brief summary of the principal terms of the Successful Bid1 for the Maple Eagle
(“Maple”), Seminole Alabama (“Seminole”) and the Oak Grove (“Oak Grove”) mining
complexes. This summary is not comprehensive, but sets forth the principal terms of the
Successful Bid, the definitive documentation for which will be entered into subsequently. The
terms set forth below are subject to change and the final terms will be reflected in the definitive
documentation related to the transactions.

            Summary of Successful Bid:

         The acquirer (“Buyer”), an entity that is 79% held by Murray Energy Corporation
(“Murray”) and 21% held by Javelin Global Commodities (UK) Ltd. (“Javelin”), will acquire
substantially all of the assets at the Oak Grove, Seminole, and Maple mining complexes for a total
consideration of $264.7 million and the assumption of approximately $70 million in reclamation
liabilities. Of the $264.7 million in total consideration, $160 million will be paid in the form of
take-back paper issued by Buyer to the current DIP Lenders and $42.8 million will be paid in cash.
Buyer will also fund $31.7 million in estimated cure costs, tax liabilities, post-petition payables
and other administrative liabilities upon closing. In addition, Javelin will cause $10 million in
cash to be put on Buyer’s balance sheet to support the purchased assets following the closing, and
Javelin and the Debtors will enter in a series of coal sale and/or marketing agreements upon
selection as Successful Bidder.

         Funding of the cash necessary for the transaction will be provided as follows: (a) Murray
will provide a $25 million equity contribution, (b) Javelin will provide a $25 million prepayment
facility to BidCo, and (c) Javelin will provide a $40 million working capital facility to Bidco.

        The corporate structure of Buyer is as set forth on the attached Exhibit A. Buyer will form
two intermediate HoldCo’s (HoldCo 1 and HoldCo 2). HoldCo 1 will own Oak Grove OpCo, and
HoldCo 2 will own Maple Eagle OpCo and Seneca OpCo. Buyer, each Holdco, and each OpCo
will be a special purpose, bankruptcy remote entity, which each will be governed by the terms and
conditions of the Special Purpose Entity term sheet, which is attached hereto as Exhibit B. In
addition, Murray will agree not to grant a pledge of its equity interests in Buyer.

            Murray and Javelin have committed to closing on or about April 12.




1
       Defined terms used but not defined herein have the respective meanings given thereto in the bid procedures in the
       form attached as Exhibit 2 to that certain Order (I) Authorizing the Debtors to Utilize the Opening Bid and
       Opening Bidder’s Proposed Agreement in Connection with the Sale, (II) Approving the Bidding Procedures for
       the Sale of the Debtors’ Assets, (III) Scheduling Hearings and Objection Deadlines With Respect to the Sale, (IV)
       Schedules Bid Deadlines and an Auction, (V) Approving the Form and Manner of Notice Thereof, (V) Approving
       Contract Assumption and Assignment Procedures, and (VII) Granting Related Relief, entered on December 21,
       2018 [Docket No. 490].


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 Term                                                       Summary

 Scope of Acquired Assets        All of the assets related to and required to operate the Maple,
                                 Seminole and Oak Grove mining complexes, including,
                                 without limitation all cash collateral associated with any
                                 assumed liabilities.

 Scope of Excluded Assets        Any assets related to the Pinnacle Mining Complex
                                 (“Pinnacle”) and such other Excluded Assets as set forth in the
                                 Sale Documentation including the Robindale receivables
                                 (which Buyer values at $20 million) and prepaid deposits
                                 related to professional fee retainers.

 Scope of Excluded Liabilities   Any liabilities associated with Pinnacle and such other
                                 Excluded Liabilities as set forth in the Sale Documentation

 Purchase Price                  Buyer will pay total consideration of $264.7 million and
                                 assume approximately $70 million of reclamation liabilities.
                                 Of the total consideration, the DIP Lenders will receive $160
                                 million in the form of take-back paper issued by Buyer, on
                                 terms and conditions set forth on the attached Exhibit C, and
                                 $42.8 million will be paid in cash by Buyer. Buyer will also
                                 fund $31.7 million in certain liabilities of the Debtors.

 Assumption of Certain           See Appendix A
 Liabilities

 Conditions to Sale Closing         Sale closing to occur upon satisfaction of all conditions set
                                     forth in the Buyer's revised APA.

 Other Considerations               Javelin will provide a $40 million working capital facility
                                     to Buyer that will be available upon closing to provide
                                     sufficient liquidity to support operations post-emergence
                                     and cover contract cure costs, fund working capital build,
                                     and any other expenses incurred at Closing
                                    Bid assumes that Robindale receivables (which Buyer
                                     values at $20 million) will remain with the Debtors' estate
                                     and all other receivables will be sold to Buyer.
                                    DIP Lenders would be responsible for (a) estate wind-down
                                     costs (which shall be no greater than the amount set forth
                                     opposite such line item (i.e. $1.0 million) in the budget
                                     included in the offer made by the DIP Lenders in their form
                                     of asset purchase agreement dated December 28, 2018),
                                     provided, that Buyer will fund $1 million of such estate
                                     wind-down costs, and (b) any breakage costs associated
                                     with the Robindale marketing agreement, which Buyer will
                                     not acquire and will not be an assumed contract
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 Term                                                 Summary
                              Prior to closing, Buyer to be listed as contract miner on all
                               permits to be transferred after Closing (including, but not
                               limited to, MSHA, Alabama and West Virginia permits
                               listed on the schedules)
                              Javelin and the Debtors will enter into a series of coal sale
                               and/or marketing agreements upon selection as Successful
                               Bidder.




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    APPENDIX A – ILLUSTRATIVE SCHEDULE OF CURE COSTS AND ASSUMED
                              LIABILITIES

Assumed Cure Costs and Liabilities
(a) Maple Eagle Powelton Minerals Lease
(b) Oak Grove Jefferson Lease
(c) Oak Grove Natural Resource Partners Lease


(d) Estate Wind Down Budget*
(e) Accrued Payroll Liabilities
(f) Health Insurance Programs
(g) Health Insurance IBNR and Workers Compensation IBNR
(h) Accrued Paid Time Off Liabilities
(i) UMWA Obligations
(j) Other Taxes Post Petition
(k) Pre and Post Property Taxes
(l) Trade Payables


(m) Oak Grove Asset Retirement Obligations
(n) Seminole West Virginia Asset Retirement Obligation
(o) Seminole Alabama Asset Retirement Obligations




         *Item (d) above to be capped at $1.0 million and remains subject to further Murray
         diligence on Estate Wind Down Budget composition

         *The Acquired Assets include all cash collateral related to any obligations being
         assumed by the Buyer.




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                                   EXHIBIT A

                       CORPORATE STRUCTURE OF BUYER




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                                                 EXHIBIT B

                            SPECIAL PURPOSE ENTITY TERM SHEET

Term Sheet Insert2

Special Purpose             Terms and conditions of SPE/bankruptcy remoteness of Bidco, Holdco 1,
Entity                      Holdco 2, Oak Grove OpCo, Maple Eagle OpCo and Seneca OpCo to be
                            acceptable to Castlelake (or an entity or agent designated by Castlelake, as
                            “Lender”) in its sole discretion. Schulte, Roth & Zabel LLP, as counsel to
                            Murray Energy and Bidco, to provide usual and customary legal opinion related
                            to no substantive consolidation under federal law.
                            As long as any secured debt is outstanding to Lender, any amendments/waivers,
                            etc. of SPE/bankruptcy remoteness of Bidco, Holdco 1, Holdco 2, Oak Grove
                            OpCo, Maple Eagle OpCo and Seneca OpCo (including organizational
                            documents, change of identity of director/manager), to be subject to consent of
                            Lender in its sole discretion.
                            Without limiting the foregoing, the organizational documents of each of Bidco,
                            Holdco 1, Holdco 2, Oak Grove OpCo, Maple Eagle OpCo and Seneca OpCo
                            shall contain no less restrictive provisions than as set forth in Addendum A
                            hereof.
Loan Parties                Bidco shall be the issuer/borrower of the secured debt issued to Lender.
                            Each of Holdco 1, Holdco 2, Oak Grove OpCo, Maple Eagle OpCo and Seneca
                            OpCo shall be a guarantor of the secured debt issued to Lender.
Pledge of Equity            Bidco shall be formed to hold 100% of the limited liability company
                            membership interests of Holdco 1 and Holdco 2.
                            Bidco shall pledge 100% of the limited liability company membership interests
                            in each of Holdco 1 and Holdco 2 to Lender pursuant to a pledge agreement in
                            form and substance acceptable to the parties to such agreement. Murray Energy
                            and Javelin shall each agree to a negative pledge as it relates to the equity
                            interests of Bidco.
                            In addition, Holdco 1 and Holdco 2 shall each pledge 100% of the limited
                            liability company membership interests in each of Oak Grove OpCo, Maple
                            Eagle OpCo and Seneca OpCo to Lender pursuant to a pledge agreement in form
                            and substance acceptable to the parties to such agreement.
                            Among other usual and customary provisions, the pledge agreements shall
                            provide the following:
                                  Each of BidCo, Holdco 1 and Holdco 2 shall collaterally assign certain
                                     Voting Rights (as defined below) to the Lender.

                                    Except during the continuance of an Event of Default (“EOD”) under
                                     the pledge agreements, BidCo, Holdco 1 and Holdco 2 may exercise the
                                     Voting Rights, provided that such entities do not exercise the Voting
                                     Rights in a manner that would be inconsistent with or result in a




2
    NTD: Subject to review and revision by Delaware counsel. Further subject to revision based on final capital
      structure of acquirer.


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                               violation of any provision of the pledge agreement, note purchase
                               agreement, or any other debt document.

                              Upon the occurrence and during the continuance of an EOD, all rights
                               of Bidco, Holdco 1 and Holdco 2 to exercise the Voting Rights shall
                               cease and the Lender shall have the right to exercise, in person or by its
                               nominees or proxies, all Voting Rights assigned to it and Lender shall
                               exercise such Voting Rights for and on behalf of Lender in such manner
                               as Lender in its sole discretion shall deem to be in Lender’s best
                               interests.

                       “Voting Rights” means all of each of Bidcos, Holdco 1 and Holdco 2’s
                       respective rights under the organizational documents of Holdco 1 and Holdco 2,
                       Oak Grove OpCo, Maple Eagle OpCo and Seneca OpCo to vote and give
                       approvals, consents, decisions and directions and exercise any other similar right
                       with respect to the Pledged Collateral.
                       “Pledged Collateral” means all of each Bidco, Holdco 1 and Holdco 2’s
                       respective right, title and interest, whether now owned or hereafter acquired, in,
                       under and to (i) the organizational documents and equity interests of each
                       guarantor, including, without limitation, each of Bidco, Holdco 1 and Holdco
                       2’s respective share of the profits, losses and capital of each guarantor, and all
                       Voting Rights, claims, powers, privileges, benefits, options or rights of any
                       nature whatsoever which currently exist or may be issued or granted by each
                       guarantor, and all instruments, whether heretofore or hereafter acquired,
                       evidencing such rights and interests, (ii) all distributions including all rights to
                       distributions from guarantors (other than Tax Distributions), (iii) all general
                       intangibles relating to the foregoing, (iv) the proceeds (including claims against
                       third parties), products and accessions of the foregoing, (v) all replacements and
                       substitutions of the foregoing, (vi) all books and records (including
                       computerized records, software and disks) relating to any of the foregoing, (vii)
                       all other rights appurtenant to the property described in foregoing clauses (i)
                       through (vi), (viii) any stock certificates, share certificates, limited liability
                       company certificates, partnership certificates or other certificates or instruments
                       evidencing the foregoing and (ix) for purposes of clarity and not limitation, any
                       direct or indirect interests of each borrower in the property described in the
                       foregoing clauses (i) through (viii).




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                                                     Addendum A3


       A. Springing Member

                    The operating agreements shall contain customary protections for “special purpose entity”
                     LLCs and shall at all times have one springing member who, so long as any of the secured
                     debt to Lender is outstanding, shall also be the Independent Director4.

                    In connection with a member cessation event (i.e., the occurrence of an event that causes
                     the sole member to cease to be a member, subject to customary exceptions), the Springing
                     Member shall, without any action of any person and simultaneously with the member
                     cessation event, automatically be admitted to the company as the special member and shall
                     continue the company without dissolution.

                    The special member may not resign from the company or transfer its rights as special
                     member unless a successor special member has been admitted to the company as special
                     member.

       B. Independent Director

                    As long as any secured debt is outstanding, the member(s) shall cause the company at all
                     times to have at least one Independent Director, who will be initially appointed by the
                     member(s) (with the approval of the Lender).

                    To the fullest extent permitted by law, including Section 18-1101(c) of the DE LLC Act,
                     the Independent Director will consider only the interests of the company, including its
                     creditors, in acting or otherwise voting on all actions of the company.

                    The Independent Director shall serve solely for the purposes of approving or disapproving
                     Material Actions (as defined below) and shall not, and shall not be required to, participate
                     in the authorization of any other matter.

                    The Independent Director shall have a fiduciary duty of loyalty and care to the company
                     similar to that of a director of a business corporation organized under the General
                     Corporation Law of the State of Delaware.




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    This summary is not intended to include all the applicable provisions in the organizational documents/ operating
      agreements, and other customary provisions consistent with the intent of the parties that each guarantor and
      borrower be structured as, and have all the protections of, to the maximum extent of the law, “bankruptcy remote”
      special purpose entities.

4
    It is intended that the springing member and Independent Director shall be a natural person with at least 3 prior years
        employment experience as an independent director, independent manager or independent member by CT
        Corporation, Corporation Service Company, National Registered Agents, Inc., Wilmington Trust Company, or a
        similar company that provides such services and is not affiliated with, in any manner, Murray Energy or any of
        Murray Energy’s affiliates.


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                 No Independent Director shall at any time serve as trustee in bankruptcy for any affiliate
                  of the company.

    C. Limitations on Company’s Activities

                 So long as any secured debt is outstanding to Lender, the operating agreements will include
                  provisions required in order to qualify each company as a “special purpose” entity.

                 So long as any secured debt is outstanding to Lender, no person shall be authorized or
                  empowered, nor shall they permit the company, without the prior unanimous written
                  consent of the Board (acting unanimously, including the Independent Director (it being
                  understood that, to the fullest extent permitted by law, including Section 18-1101(c) of the
                  Act, when so acting or voting, the Independent Director shall consider only the interests of
                  the company, including its creditors)), to take any Material Action or adopt a new limited
                  liability company agreement or alter, amend or repeal any special purpose provision.

                 So long as any secured debt is outstanding to the Lender, no person shall (x) take any
                  Material Action or (y) adopt any amendment to any of the special purpose provisions unless
                  the Independent Director then serving in such capacity participates in such vote or
                  authorization.

                       o   “Material Action” to include any action to (a)(i) file or consent to the filing of any
                           petition, either voluntary or involuntary, to take advantage of any applicable
                           insolvency, bankruptcy, liquidation or reorganization statute, (ii) seek or consent
                           to the appointment of a receiver, liquidator or any similar official for the company
                           or a substantial portion of its assets or properties, (iii) make an assignment for the
                           benefit of creditors, (iv) admit in writing the company’s inability to pay its debts
                           generally as they become due, (v) declare or effectuate a moratorium on the
                           payment of any secured debt obligations, or (vi) take any action that might cause
                           the company to become insolvent; (b) convert, merge or consolidate with any other
                           person or sell all or substantially all of its assets or acquire all or substantially all
                           of the assets or capital stock or other ownership interest of any other person; (c)
                           execute any dissolution, liquidation, or winding up of the company or (d) take any
                           action in furtherance of any of the foregoing.

                 Operating agreements to contain usual and customary covenants and agreements as to the
                  company’s activities to ensure separateness.

    D. Third-Party Rights

                 The Lender shall be a third-party beneficiary of all special purpose provisions.

    E. Amendments

                 So long as any secured debt is outstanding to the Lender, the special purpose provisions
                  may not be modified, altered, supplemented or amended unless the Lender consents in
                  writing and any purported modification, alteration, supplementation or amendment of the
                  special purpose provision without the Lender’s consent shall be void and have no force or
                  effect.



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                                            EXHIBIT C

                              TAKE-BACK PAPER TERM SHEET
 Facility Type             $160 Million First Lien Senior Secured Take-Back Paper

 Issuer / Borrower         BidCo

                           Fully and unconditionally guaranteed on a joint and several basis by the
 Guarantors                 Borrower and all current and future domestic restricted subsidiaries,
                            including HoldCos 1 and 2, and OpCos 1, 2 and 3.
                       Security package in the equity and assets in Oak Grove, Maple Eagle and
                       Seminole Alabama, excluding coal inventory and accounts receivable:
                           1st lien to any outstanding balance due to Take-Back Paper
                           2nd lien to any outstanding balance of the amount due pursuant to the
                               Javelin Prepayment Facility
 Ranking / Security
                       Security Package in the coal inventory and accounts receivable of Oak Grove,
                       Maple Eagle and Seminole Alabama:
                           1st and 2nd lien to any outstanding balance on the Javelin Prepayment
                               Facility and Working Capital Financing
                               3rd lien to Take-Back Paper

 Maturity                  4 years

 Call Protection              No call protection

                             8% cash/PIK toggle
                             PIK option only available until June 30, 2021, at the option of the Issuer
                             Cash pay interest at all times beginning June 30, 2021
 Coupon                      Interest payable semi-annually
                             3 month interest holiday as compensation for recent increases in the
                              assumed cure costs, tax liabilities and other administrative liabilities by
                              BidCo
 Mandatory                 85% ECF Sweep
 Prepayments               Terms of ECF to be agreed
 Financial
                          1.25x Fixed Charge Coverage Ratio beginning the period ending 6/30/2021
 Covenants
                           Standard and customary incurrence based covenants which will limit
                            ability to sell assets, grant liens, incur indebtedness, engage in
                            transactions with affiliates, merge or acquire other assets and make
 Negative Covenants
                            restricted payments
                           Documentation to include covenant requiring Company to take actions
                            necessary to fully capitalize the business for benefit of Noteholders




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                                  Exhibit B


                       Successful Pinnacle Bid Summary




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                        PINNACLE MINE SUCCESSFUL BID SUMMARY

        Below is a summary of the principal terms of the Successful Bid1 for the Pinnacle mining
complex. This summary is not comprehensive, but sets forth the principal terms of the
Successful Bid, the definitive documentation for which will be entered into subsequently. As
noted below, the Debtors have determined that there are two Successful Bidders with respect to
specific aspects of the Pinnacle mining complex, Bluestone Resources, Inc. (“Bluestone”) and
Contura Energy, Inc. (“Contura”). The Successful Bid consists of two separate bids, one bid by
Bluestone with respect to certain portions of the Pinnacle mining complex and one bid by
Contura with respect to certain other portions of the Pinnacle mining complex. Neither
Successful Bidder is responsible for the obligations of the other Successful Bidder in respect of
the other Successful Bidder’s obligations in connection with the consummation of the
transactions. The Successful Bids of Contura and Bluestone are subject to (i) resolution of open
issues (including with respect to the Brewster matter discussed below), (ii) negotiation of
definitive documentation of the final terms governing the transactions among the Debtors,
Bluestone, Contura and NRP/WPP, and (iii) completion of confirmatory due diligence, in each
case, as agreeable to each of Contura and Bluestone in its respective sole discretion. Therefore,
the terms set forth below are subject to change.

          Summary of Bluestone Successful Bid:

        Bluestone would acquire all assets related to the Pinnacle mine, other than the specific
assets to be acquired by Contura, for an aggregate purchase price of $100,000 (the “Bluestone
Transaction”). The Bluestone assets generally relate to all surface property associated with the
Pinnacle mine, including the Pinnacle Preparation Plant, all surface reserves (excluding any
reserves to be leased to Contura pursuant to the Contura Transaction or reserves located on
surface associated with the Mine Void Area (as described on the map on Exhibit A)) and the
Green Ridge reserves. Bluestone would not acquire any contracts related to the Pinnacle mine,
other than the Lasher Lease,2 Berwind Lease,3 NRP Lease (as described below)4 and West


1
     Note to Draft: Defined terms used by not defined herein have the respective meanings given thereto in the bid
     procedures in the form attached as Exhibit 2 to that certain Order (I) Authorizing the Debtors to Utilize the
     Opening Bid and Opening Bidder’s Proposed Agreement in Connection with the Sale, (II) Approving the
     Bidding Procedures for the Sale of the Debtors’ Assets, (III) Scheduling Hearings and Objection Deadlines
     With Respect to the Sale, (IV) Schedules Bid Deadlines and an Auction, (V) Approving the Form and Manner of
     Notice Thereof, (V) Approving Contract Assumption and Assignment Procedures, and (VII) Granting Related
     Relief, entered on December 21, 2018 [Docket No. 490].

2
     “Lasher Lease” means that certain Coal Mining Lease, dated August 1, 2005, by and between Lasher LLC and
     Pinnacle Mining Company, LLC, as amended by that certain First Amendment to Lease, dated December 19,
     2013, by and between Lasher LLC and Pinnacle Mining Company, LLC.

3
     “Berwind Lease” means that certain Lease Agreement, effective as of January 1, 1999, by and between Berwind
     Land Company and U.S. Steel Mining Company, LLC, as assigned to Pinnacle Mining Company, LLC by that
     certain Consent to Assignment and Assumption Agreement, effective June 30, 2003, by and among Berwind
     Land Company, U.S. Steel Mining Company, LLC and Pinnacle Mining Company, LLC.
4
     “NRP Lease” means the 2018 Pinnacle Lease as defined in the Agreed Order and Settlement Agreement
     Related to Motion to Assume Oak Grove Coal Mining Lease filed on 11/20/2018 [Doc. 299] (the “Agreed

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Virginia DOH Lease5 (collectively, the “Bluestone Assumed Contracts”). The Debtors would
transfer to Bluestone each of the permits set forth below under the heading “Bluestone
Summary” opposite the heading “Permits” (such permits, the “Bluestone Permits”). In addition,
Bluestone would assume certain liabilities associated with the Bluestone acquired assets,
including reclamation obligations, cure costs related to the assumed contracts, trade payables,
obligations for real estate taxes and accrued payroll and payroll taxes related to the period prior
to closing.

        Summary of Contura Successful Bid:

        Contura would acquire the sub-surface property rights related to the Pinnacle mine, as
well as certain surface properties necessary to manage water discharge obligations and certain
additional assets as set forth below and attached, for an aggregate purchase price of $3,750,000
(the “Contura Transaction”). Amounts, if any, with respect to apportioned taxes and all amounts
required to be paid to the WV DEP under the proposed consent order number M-19-252 dated
January 14, 2019 (the “Consent Order”) will be a deduction to, and paid from, the purchase price
at closing (or, in the case of amounts under the Consent Order, will remain as a liability of the
estate of the Debtors and Contura will have no liability in respect thereof, and Contura will
receive an acknowledgment to that effect from the WV DEP reasonably satisfactory to Contura).
In addition, at closing Contura would assume certain liabilities associated with the Contura
acquired assets, including reclamation obligations and certain environmental liabilities.

        Following signing, Contura will use commercially reasonable efforts to obtain
replacement permits for portions of each of the permits U-0204-83, 0-4008-92 and 0-401097 to
the extent (but only to the extent) such permits relate specifically to the properties and operations
contemplated to be acquired by Contura; provided, however, that Contura will not be required to
make any payments or concessions to the WV DEP or take any actions that would be adverse to
Contura in connection with obtaining such permits other than (i) the payment of customary filing
and other administrative fees, (ii) obtaining, and paying the reasonable and necessary costs for,
customary surveys and other related reports, and (iii) posting customary bonds as required by the
WV DEP (in amounts not in excess of 110% of the respective amounts set forth on Exhibit C).
Contura’s receipt of such permits would also be a condition to Contura’s obligation to close the
Contura Transaction.

        In addition to the other conditions to closing agreed to by Contura and Mission and set
forth in the definitive purchase agreement, the Contura Transaction would also be conditioned on
the prior closing of the Bluestone Transaction and the prior transfer of the Bluestone Permits to

    Order and Settlement”). For the avoidance of doubt, while the bids contemplate separate leases for Bluestone
    and Contura, all of the assets and liabilities associated with the NRP Lease (other than those matters raised in
    WPP’s cure cost objection, which are resolved by the payment of the WPP Payment) will be assumed and
    assigned to either Bluestone or Contura in connection with the transaction. Upon the closing of the
    contemplated transactions, the assets and liabilities arising out of the NRP Lease will no longer reside with the
    Debtors.
5
    “West Virginia DOH Lease” means that certain Coal Lease, dated August 21, 2014, by and between West
    Virginia Department of Highways and Pinnacle Mining Company, LLC.


                                                          2

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Bluestone. The Contura Transaction will also be conditioned on Contura’s satisfaction that other
than any payment to the WV DEP that will be accounted for as a deduction to the purchase price,
or remain as a liability of the estate of the Debtors, as described above, Contura will have no
financial liability or other obligation under the Consent Order. The parties continue to discuss
matters regarding the Brewster heirs’ property interests as relate to the Brewster reserves.

      The “Outside Date” for the purchase agreement for the Contura Transaction will be 9
months from the date of execution.

       Interim Operations:

       During the period prior to the closing of the Contura Transaction:
           Bluestone would grant access to Mission as necessary to secure and manage the
              assets that it retains until the Contura Transaction closes;
           Mission would grant access to Bluestone with respect to portions of the surface
              that are necessary for Bluestone’s operations (and not otherwise a Contura Asset);
           Mission will maintain permits U-0204-83, 0-4008-92 and 0-401097, including
              related bonding; and
           Mission will maintain insurance with respect to and remain liable for indemnity
              obligations as currently set forth in the Agreed Order and Settlement with respect
              to any aspect of the Option that remains active as per below.

       NRP Lease and Other Matters:

        Mission, WPP, Bluestone and Contura will enter into a separate side agreement whereby
the parties agree that:

              Upon closing of the Bluestone Transaction, Bluestone and NRP will enter into a
               new lease with respect to the areas covered by the current NRP Lease (other than
               the Pocahontas 3 seam in the Indian Creek area) and the existing option described
               in the Agreed Order and Settlement (the “Option”) will no longer be effective
               with respect to such areas;
              Concurrent with execution of the purchase agreement between Contura and
               Mission, Contura and WPP will enter into a new lease (in a form to be mutually
               acceptable to and agreed by Contura and WPP) with respect to the Pocahontas 3
               seam in the Indian Creek area, which lease will become effective at closing of the
               Contura Transaction. The Option will be terminated in full as of the closing of
               the Contura Transaction;
              Mission will retain indemnification obligations and minimum insurance
               requirements as set forth in the Agreed Order and Settlement with respect to areas
               for which the Option remains in effect;
              The quarterly payment obligations under the Agreed Order and Settlement will
               cease following closing of the Bluestone Transaction;
              Upon closing of the Contura Transaction, the greater of $500,000 and 10% of the
               proceeds from the sale of the Pinnacle assets will be paid directly to WPP as a
               deduction to the purchase price otherwise payable to Mission by Contura (the
               “WPP Payment”), and WPP will waive all claims related to cure costs,

                                               3

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             termination costs and other matters associated with the NRP Lease. WPP will
             release such claims at an earlier time if required to approve the plan of
             reorganization, conditioned upon receipt of the WPP Payment at the closing of the
             Contura Transaction; and
            After the closing of the Contura Transaction, Bluestone and Contura will
             cooperate to obtain surveys for the pump sites/de-water sites listed in item 13(v)
             on Exhibit A and for the Future Pumping Stations (as defined on Exhibit A) and
             shall execute correction deeds with the surveyed property descriptions.

      Detailed Summary:

       Please see the below for a more detailed summary of the Bluestone and Contura
Successful Bids.

                            Bluestone Summary                       Contura Summary
Scope of             The Bluestone Assumed Contracts;        The assets set forth on Exhibit
Acquired Assets      Pinnacle preparation plant;              A;
                     Certain leased real property;           Certain equipment;
                     Certain coal reserves;                  Certain contracts;
                     Rights to subside lands;                Certain coal reserves;
                     Rights to warranties associated with    Rights to subside lands;
                      acquired equipment;                     Rights to warranties
                     Rights to use haul roads and other       associated with acquired
                      rights of way; and                       equipment;
                     Documents, books and records            Certain documents, books and
                      related to the acquired assets           records;
                     Certain owned real property             Certain claims and avoidance
                      (surface)                                actions, if applicable;
                                                              All assets listed on a specified
                                                               Schedule;
                                                              [Certain tax refunds, tax
                                                               returns and tax documents;]
                                                              Certain insurance policies (if
                                                               applicable);
                                                              Insurance proceeds related to
                                                               the acquired assets for which
                                                               Debtors are not otherwise
                                                               liable under the Agreed Order
                                                               and Settlement; and
                                                              Proceeds from the sale of any
                                                               acquired asset
Scope of             Collective Bargaining Agreements;       Collective Bargaining
Excluded Assets      Employee personnel files or benefit       Agreements;
                      plans;                                  Employee personnel files or
                     Equity interests of the selling           benefit plans;
                      entities and corporate records;         Equity interests of the selling

                                             4

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                          Bluestone Summary                       Contura Summary
                    Contracts that are not assumed           entities and corporate records;
                     contracts;                              Certain corporate books and
                    Rights under insurance policies;         records;
                    Prepaid deposits related to           Documents that the Sellers
                     professional fee retainers;              are required by legal
                    Cash consideration paid to selling       requirements to retain;
                     entities;                             Contracts that are not
                    Deposits, escrows, surety bonds, or      assumed contracts;
                     other financial assurances and cash   Certain rights under insurance
                     or cash equivalents securing any         policies;
                     surety bonds or financial assurances  Prepaid deposits related to
                     related to the excluded assets or        professional fee retainers;
                     excluded liabilities;                 Cash consideration paid to
                    Tax returns for any tax that is an       selling entities;
                     excluded liability;                   Deposits, escrows, surety
                    Avoidance actions and certain other      bonds, or other financial
                     causes of action;                        assurances and cash or cash
                    Proceeds from the sale of excluded       equivalents securing any
                     assets;                                  surety bonds or financial
                    Cash and cash equivalents and all        assurances;
                     accounts receivable;                  Tax returns for any tax for a
                    Tax refunds;                             pre-closing period (subject to
                    Accrued payroll and payroll taxes;       provision of copies of any
                    Intercompany receivables; and            such returns required by
                    Assets acquired by Contura               Contura);
                                                           Avoidance actions and certain
                                                              other causes of action;
                                                           Proceeds from the sale of
                                                              Excluded Assets;
                                                           Cash and cash equivalents
                                                              and all accounts receivable;
                                                           Certain tax refunds;
                                                           Intercompany receivables;
                                                              and
                                                           The fee property associated
                                                              with the Specific Sites (as
                                                              defined on Exhibit A)
Purchase Price                                            $3,750,000 (subject to reduction
                 $100,000
                                                          as noted above)
Assumption of     Liabilities and Cure Costs related to  Liabilities related to assumed
Certain             assumed contracts;                        contracts (other than Cure
Liabilities       Reclamation liabilities related to the     Costs, except as set forth
                    Pinnacle Mine;                            below);
                  Trade Payables related to the           Cure Costs relating to the


                                            5

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                           Bluestone Summary                        Contura Summary
                     Acquired Assets and incurred in the       assumed contracts as set forth
                     ordinary course of business after the     on, and limited to the
                     filing date;                              amounts set forth on, Exhibit
                    Liabilities with respect to transferred   B;
                     permits or otherwise arising out of      Reclamation liabilities related
                     or relating to the transferred permits;   to transferred permits;
                     and                                      Liabilities relating to the
                    Accrued but unpaid liabilities with       ownership of the acquired
                     respect to real property taxes            assets arising post-closing;
                                                              Certain environmental
                                                               liabilities related to the
                                                               acquired assets; and
                                                             Regulatory violations relating
                                                               to the transferred permits first
                                                               arising post-closing
Other               Bluestone to assume the Lasher          Contura to enter into a new
Considerations       Lease, Berwind Lease, and West           lease with WPP (in a form to
                     Virginia DOH Lease                       be mutually acceptable to and
                    Bluestone to enter into a new lease      agreed by Contura and WPP)
                     with WPP
Permits             List of permits being confirmed            Contura to obtain new permits
                                                                 covering portions of U-0204-
                                                                 83, O-4008-92 and O-4010-97
                                                                 as more fully described above




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                                          Exhibit A
                                        Contura Assets

1.    All rights to that certain portion of the Pocahontas No. 3 reserves identified on the
      attached map as “Retained Mineral Block A.”
2.    All rights to that certain portion of the Pocahontas No. 3 reserves identified on the
      attached map as “Retained Mineral Block B.”
3.    All rights to the Mine Void Area identified on the attached map.
4.    That certain surface property identified on the attached map as “Fan Site 8A” and related
      ponds (“Fan Site 8A”).
5.    That certain surface property identified on the attached map as “Compressor Station.”
6.    Those certain surface properties identified on the attached map as “Future Pumping
      Station 1”, “Future Pumping Station 2” and “Future Pumping Station 3” (collectively, the
      “Future Pumping Stations” and each a “Future Pumping Station”).
7.    All Brewster estate tracts to the extent owned by Mission or one of its affiliates.
8.    All equipment, improvements and personal property located at those certain surface
      properties identified on the attached map as “8A Dewater Site”, “8I Dewater Site”, “8R
      Dewater Site” and “9E Dewater Site” (collectively, the “Dewater Sites”).
9.    All equipment, improvements and personal property located at that certain surface
      property identified on the attached map as “7K Dewater Site” (the “Potential Dewater
      Site”).
10.   The Indian Creek substation (together with the Dewater Sites and the Potential Dewater
      Site, the “Specific Sites”).
11.   Rights in favor of Contura across all surface property for the use of haul roads, access
      roads, other rights of way, rights to relocate surface facilities, construction of potential
      new roads and conduct of necessary operations to manage water discharge operations (the
      “Broad Surface Rights”). The Broad Surface Rights will be reserved by Mission in the
      deeds pursuant to which Bluestone acquires the surface properties it is acquiring from
      Mission, and will be transferred to Contura at the closing of the Contura Transaction.
12.   Easement in favor of Contura for the use, maintenance, repair and access to the Specific
      Sites, Fan Site 8A, the Future Pumping Stations and the related pipelines, water lines,
      power lines and equipment in order to conduct discharge operations (the “Specific
      Surface Easement”).
13.   The following assets:
      (i)     Two Transformers located at Fan Site 8A, bearing serial numbers SEB3043 0002
              and SEB3043 0001 and all associated wiring, power poles and switch gear;

      (ii)    Two Mine Fans located at Fan Site 8A (Robinson Type AF0925, bearing serial
              numbers 34297A and 34297B);

      (iii)   Two 2300 HP motors driving the 2 Robinson Type Fans located at Fan Site 8A;




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        (iv)     Back up 2300 HP motors located in the Pinnacle warehouse; and

        (v)      Water Pumps and associated water lines located at sites 1 Right,6 9e, 8a, 8i, 8r and
                 7k, the general locations of which are set forth on the attached map.




6
    To confirm this pump is still located at the 1 Right location.




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                        Map of Contura Acquired Assets




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                                               Exhibit B
                                       Contura Assumed Contracts

Seller Entity     Counter Party          Agreement            Additional Information       Contract Date
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for $98,500,      et. al. v. Pinnacle
Pinnacle Mining   Nelson Bailey, Jr.     (assumption by       $78,800 of which             Mining Company,
Company, LLC      and Mary Bailey        Contura subject to   Debtors report has been      LLC, U.S.D.C. for the
                                         a maximum cure       paid, leaving a balance of   S.D. of W.V.
                                         payment of           $19,700                      (Beckley), Case #:
                                         $19,700)                                          5:15-cv-15444
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for               et. al. v. Pinnacle
                  Morris and
Pinnacle Mining                          (assumption by       $169,500, $135,600 of        Mining Company,
                  Claudette
Company, LLC                             Contura subject to   which Debtors report has     LLC, U.S.D.C. for the
                  Blankenship
                                         a maximum cure       been paid, leaving a         S.D. of W.V.
                                         payment of           balance of $33,900           (Beckley), Case #:
                                         $33,900)                                          5:15-cv-15444
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for               et. al. v. Pinnacle
Pinnacle Mining   Gregory and            (assumption by       $210,000, $168,000 of        Mining Company,
Company, LLC      Sharon Chafin          Contura subject to   which Debtors report has     LLC, U.S.D.C. for the
                                         a maximum cure       been paid, leaving a         S.D. of W.V.
                                         payment of           balance of $42,000           (Beckley), Case #:
                                         $42,000)                                          5:15-cv-15444
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for               et. al. v. Pinnacle
Pinnacle Mining   Michael and Mary       (assumption by       $155,000, $124,000 of        Mining Company,
Company, LLC      Estep                  Contura subject to   which Debtors report has     LLC, U.S.D.C. for the
                                         a maximum cure       been paid, leaving a         S.D. of W.V.
                                         payment of           balance of $31,000           (Beckley), Case #:
                                         $31,000)                                          5:15-cv-15444
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for               et. al. v. Pinnacle
Pinnacle Mining   Elmer and Violet       (assumption by       $135,000, $108,000 of        Mining Company,
Company, LLC      Green                  Contura subject to   which Debtors report has     LLC, U.S.D.C. for the
                                         a maximum cure       been paid, leaving a         S.D. of W.V.
                                         payment of           balance of $27,000           (Beckley), Case #:
                                         $27,000)                                          5:15-cv-15444
                                         Mediation                                         Filed under seal on
                                         Settlement           Original settlement          5/18/2017 in Surratt
                                         Agreement            amount was for               et. al. v. Pinnacle
Pinnacle Mining   James and Kristin      (assumption by       $128,000, $102,400 of        Mining Company,
Company, LLC      Hatfield               Contura subject to   which Debtors report has     LLC, U.S.D.C. for the
                                         a maximum cure       been paid, leaving a         S.D. of W.V.
                                         payment of           balance of $25,600           (Beckley), Case #:
                                         $25,600)                                          5:15-cv-15444
                                         Mediation            Original settlement          Filed under seal on
Pinnacle Mining   William and
                                         Settlement           amount was for               5/18/2017 in Surratt
Company, LLC      Drema Lester
                                         Agreement            $165,000, $132,000 of        et. al. v. Pinnacle




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Seller Entity          Counter Party        Agreement            Additional Information     Contract Date
                                            (assumption by       which Debtors report has   Mining Company,
                                            Contura subject to   been paid, leaving a       LLC, U.S.D.C. for the
                                            a maximum cure       balance of $33,000         S.D. of W.V.
                                            payment of                                      (Beckley), Case #:
                                            $33,000)                                        5:15-cv-15444
                                            Mediation                                       Filed under seal on
                                            Settlement           Original settlement        5/18/2017 in Surratt
                                            Agreement            amount was for             et. al. v. Pinnacle
Pinnacle Mining                             (assumption by       $175,000, $140,000 of      Mining Company,
                       Bessie Morgan
Company, LLC                                Contura subject to   which Debtors report has   LLC, U.S.D.C. for the
                                            a maximum cure       been paid, leaving a       S.D. of W.V.
                                            payment of           balance of $35,000         (Beckley), Case #:
                                            $35,000)                                        5:15-cv-15444
                                            Mediation                                       Filed under seal on
                                            Settlement           Original settlement        5/18/2017 in Surratt
                                            Agreement            amount was for             et. al. v. Pinnacle
Pinnacle Mining                             (assumption by       $135,000, $108,000 of      Mining Company,
                       Mary Ricketts
Company, LLC                                Contura subject to   which Debtors report has   LLC, U.S.D.C. for the
                                            a maximum cure       been paid, leaving a       S.D. of W.V.
                                            payment of           balance of $27,000         (Beckley), Case #:
                                            $27,000)                                        5:15-cv-15444
                                            Mediation                                       Filed under seal on
                                            Settlement           Original settlement        5/18/2017 in Surratt
                                            Agreement            amount was for             et. al. v. Pinnacle
Pinnacle Mining        James and Rose       (assumption by       $265,000, $212,000 of      Mining Company,
Company, LLC           Surratt              Contura subject to   which Debtors report has   LLC, U.S.D.C. for the
                                            a maximum cure       been paid, leaving a       S.D. of W.V.
                                            payment of           balance of $53,000         (Beckley), Case #:
                                            $53,000)                                        5:15-cv-15444


         •      $327,200 remains unpaid in the aggregate.




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                                                           Exhibit C
                                                         WV DEP Bonds
                                                                                 Bond No -
                           Bond       Surety                 Permit Operating               Effective Expiration Bond
Permit # Type   Debtor                            Obligee                         Term -                                Premium
                         Description Provider                Acres   Status                   Date      Date     Amount
                                                                                Transaction
             Pinnacle                           West Virginia
O-4010- Deep Mining      Gob Gas      Indemnity Department of                   N-7000844-
                                                              518   A                      2/15/2019 2/15/2020   $ 520,000 $ 14,300
97      mine Company,    Well Sites   National Environmental                    2-1
             LLC                                Protection
             Pinnacle                           West Virginia
U-0204- Deep Mining      50 Mine &    Indemnity Department of                   N-7000846-
                                                              311   A                      2/15/2019 2/15/2020   $ 811,200 $ 22,308
83      mine Company,    warehouse    National Environmental                    2-1
             LLC                                Protection
             Pinnacle                           West Virginia
                         145 Acres
O-4008- Deep Mining                   Indemnity Department of                   N-7000935-
                         Wyoming                              145                          3/15/2018 3/15/2019   $ 145,000 $ 3,988
92      mine Company,                 National Environmental                    1-1
                         County
             LLC                                Protection




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